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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet I



                                           UNITED STATES DISTRICT COURT
                                                              District of Columbia
                                                                          )
              UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                                                          )
                                   V.                                     )
                         KELLY O'BRIEN                                    )
                                                                                 Case Number: 21-cr-00633-RCL-1
                                                                          )
                                                                          )      USM Number: None Assigned
                                                                          )
                                                                          )        Greg Hunter
                                                                          )      Defendant's Attorney
THE DEFENDANT:
� pleaded guilty to count(s)            one (1) of the Information filed on October 19, 2021.
Dpleaded nolo contendere to count(s)
 which was accepted by the court.
Dwas found guilty on count(s)
 after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                        Offense Ended
18 USC§ 1752(a)(1)                Entering and Remaining in a Restricted Building                           1/6/2021 - · ·           1-




       The defendant is sentenced as provided in pages 2 through         __8__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
DThe defendant has been found not guilty on count(s)
� Count(s)      2-4
               ------------- Dis                                  � are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic_ circumstances.

                                                                                                          4/6/2022
                                                                        Date of Imposition of Judgment




                                                                        Signature of Judge




                                                                                     Royce C. Lamberth, U.S. District Court Judge
                                                                        Name and Title of Judge



                                                                        Date
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